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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

 JOHN KEITH HEBERT                           CASE NO. 6:19-CV-00410

 VERSUS                                      JUDGE JUNEAU

 USA ET AL                                   MAGISTRATE JUDGE WHITEHURST



                        REPORT AND RECOMMENDATION
          Pro se plaintiff, John Keith Hebert filed the instant complaint on March 25,

 2019, contemporaneously with a Motion for Leave to Proceed In Forma Pauperis

 (IFP).     His complaint makes numerous allegations against various defendants

 stemming time spent in Afghanistan working for a private security firm. This matter

 has been referred to the undersigned for review, report, and recommendation in

 accordance with the provisions of 28 U.S.C. § 636 and the standing orders of the

 Court.

                                         Background

          Plaintiff’s 43-page Complaint consists of various claims made against over 75

 defendants, including the United States of America, former C.I.A. Director John

 Brennan, the State of California and President Donald J. Trump. Plaintiff’s claims

 stem from his work for a private security firm in Afghanistan in 2014, and the issues
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 that have arisen since his termination, including mental, health physical health and

 financial problems.

                                      Law and Analysis

       IFP status is a privilege, not a right, that is based on the "policy of equality of

 access, ensuring that those who cannot afford the payment of costs have the same

 ability to present meritorious claims as those who cannot afford such payment."

 Enters v. Clear Channel Communs, Civil No. SA-14-365-FB, 2014 U.S. Dist.

 LEXIS 191421, *6 (W.D. Tex., May 19, 2014) (citing Nasim v. Warden, Md. House

 of Corr., 64 F.3d 951, 953 (4th Cir. 1995) (en banc), cert. denied, 516 U.S. 1177

 (1996)); see also Startti v. United States, 415 F.2d 1115, 1116 (5th Cir. 1969). A

 person need not be "absolutely destitute" to proceed. Adkins v. E.I. DuPont de

 Nemours & Co., 335 U.S. 331 (1948). Rather, IFP status is available to a person

 who declares to the Court, by way of affidavit, that he "cannot because of his poverty

 'pay or give security for the costs . . . and still be able to provide' himself and

 dependents 'with the necessities of life.'" Id.

       Assuming that a plaintiff does meet the financial prerequisites to proceed IFP,

 plaintiff must also establish that he has raised a non-frivolous issue. The applicable

 standard is found in 28 U.S.C. § 1915(e)(2):

       Notwithstanding any filing fee, or any portion thereof, that may have been
       paid, the court shall dismiss the case at any time if the court determines that
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              (A) the allegation of poverty is untrue; or

              (B) the action or appeal —

                    (i) is frivolous or malicious;

                    (ii) fails to state a claim on which relief may be granted; or

                    (iii) seeks monetary relief against a defendant who is immune
                    from such relief.

 Title 28, United States Code, § 1915(e) accords courts not only the authority to

 dismiss a claim based on an indisputably meritless legal theory, but also the power

 to pierce the veil of plaintiff's allegations and dismiss those claims whose factual

 contentions are clearly baseless. Id. at *7; see also Denton v. Hernandez, 504 U.S.

 25, 31-32 (1992); Neitzke v. Williams, 490 U.S. 319, 327 (1989); see also Jackson

 v. Stinnett, 102 F.3d 132, 136-37 (5th Cir. 1996). If the Court has the authority to

 dismiss a non-prisoner case as frivolous once it has been filed, then the Court has

 the inherent authority in a non-prisoner case to deny leave to proceed in forma

 pauperis to preclude the filing of a frivolous complaint or claim. Id. at n 41. In an

 action filed IFP, a court may raise sua sponte the issue of whether an action is

 malicious or frivolous under § 1915(e). Id.; (citing Neitzke, 490 U.S. at 327; see

 also Green v. McKaskle, 788 F.2d 1116, 1119-1120 (5th Cir. 1986) ("A district court

 may dismiss an IFP proceeding brought by a prisoner for frivolity or maliciousness

 at any time before or after service of process and before or after the defendant's

 answer.”)) Dismissal of a claim as frivolous under § 1915(e) is permissible when
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 the claim lacks an arguable basis either in law or in fact. Id. (citing Neitzke, 490

 U.S. at 325; Ruiz v. United States, 160 F.3d 273, 274 (5th Cir. 1998); Gonzales v.

 Wyatt, 157 F.3d 1016, 1019 (5th Cir. 1998); Davis v. Scott, 157 F.3d 1003, 1005

 (5th Cir. 1998); McCormick v. Stalder, 105 F.3d 1059, 1061 (5th Cir. 1997)). A

 complaint lacks an arguable basis in law if it is based on an indisputably meritless

 legal theory. Id. (citing Talib v. Gilley, 138 F.3d 211, 213 (5th Cir. 1998)). A

 complaint lacks an arguable basis in fact if, after providing the plaintiff the

 opportunity to present additional facts when necessary, the facts alleged are clearly

 baseless. Id. (citing Denton, 504 U.S. at 32-33). Typical examples of claims which

 can be dismissed pursuant to § 1915(e), or its predecessor, § 1915(d), include: (1)

 claims against which it is clear that the defendants are immune from suit, (2) claims

 of infringement of a legal interest that clearly does not exist, and (3) claims which

 are barred by limitations. Id. at *8.

       A case is not frivolous simply because it fails to state a claim. Id. (citing

 Neitzke, 490 U.S. at 33; Booker v. Koonce, 2 F.3d 114, 115 (5th Cir. 1997); Gartrell

 v. Gaylor, 981 F.2d at 259; Ancar v. Sara Plasma, Inc., 964 F.2d at 468.) But, if the

 claim has no arguable basis in law or fact, the complaint can be dismissed under §

 1915(e). Id. (citing Gartrell v. Gaylor, 981 F.2d at 259; Parker v. Carpenter, 978

 F.2d 190, 191 n.1 (5th Cir. 1992); Mayfield v. Collins, 918 F.2d 560, 561 (5th Cir.

 1990). "A complaint is legally frivolous if it is premised on an 'undisputably

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 meritless legal theory.'" Id. (citing Boyd v. Biggers, 31 F.3d at 281-82 (quoting

 Neitzke, 490 U.S. at 327.)) An IFP complaint that recites bare legal conclusions,

 with no suggestion of supporting facts, or that postulates facts of an entirely fanciful

 nature, is a prime candidate for dismissal under § 1915(e). Id. (citing Ancar v. Sara

 Plasma, Inc., 964 F.2d at 468; Wesson v. Oglesby, 910 F.2d 278, 281 (5th Cir. 1990).

 Furthermore, when it is clear from the face of the complaint that the claims asserted

 are subject to an obvious meritorious defense, dismissal with prejudice is

 appropriate. Id. (citing Graves v. Hampton, 1 F.3d 315, 319-20 (5th Cir. 1993).

       Plaintiff’s complaint consists of fanciful claims of government corruption,

 political coverups and conspiracies. He makes claims of “outer space warfare” [Rec.

 Doc. 1, p. 11], “environmental modification techniques while using false claims of

 climate change and global warming [Id. at p 13], and “conspiracy to commit

 extermination” [Id. at p. 14]. Plaintiff seeks billions of dollars in damages, and other

 forms of relief including “political asylum” and “a place of refuse and security” in

 Nevada and entry in the witness protection program..

       The Court has considered plaintiff’s allegations and concludes that they

 frivolous and, for that reason, plaintiff’s complaint should be dismissed.




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                                             Conclusion

        Plaintiff’s claims are fanciful, frivolous, or fail to state a claim for which relief

 may be granted.

        Therefore,

        IT IS RECOMMENDED that plaintiff’s motion to for leave to proceed in

 forma pauperis [Rec. Doc. 2] be DENIED.

        IT IS RECOMMENDED that plaintiff’s complaint be DISMISSED WITH

 PREJUDICE as frivolous and for failing to state a claim for which relief may be

 granted.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b),

 parties aggrieved by this recommendation have fourteen (14) business days from

 service of this report and recommendation to file specific, written objections with

 the Clerk of Court. A party may respond to another party's objections within

 fourteen (14) days after being served with a copy of any objections or response to

 the district judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or

 the proposed legal conclusions reflected in this Report and Recommendation

 within ten (10) days following the date of its service, or within the time frame

 authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking

 either the factual findings or the legal conclusions accepted by the District

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 Court, except upon grounds of plain error. See, Douglass v. United Services

 Automobile Association, 79 F.3d 1415 (5th Cir. 1996).

       THUS DONE in Chambers on this 13th day of May, 2019.




                                                Carol B. Whitehurst
                                           United States Magistrate Judge




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